                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


TOU XIONG,

                       Plaintiff,

               v.                                          Case No. 21-C-93

KILOLO KIJAKAZI,
Acting Commissioner for Social Security,

                       Defendant.


                                            ORDER



       This matter is before the Court on the parties’ stipulated motion for remand for further

proceedings pursuant to sentence four of 42 U.S.C. § 405(g), and the Court being duly advised,

now grants the motion.

       It is hereby ORDERED that this case be remanded to the Agency pursuant to the fourth

sentence of 42 U.S.C. § 405(g) for further proceedings and that judgment be entered pursuant to

Federal Rule of Civil Procedure 58. Upon receipt of the Court’s order, the Appeals Council will

remand the matter to an Administrative Law Judge to develop the administrative record as

necessary and issue a new decision, and following the sequential evaluation process, determine

whether Plaintiff is disabled.

       Dated at Green Bay, Wisconsin this 10th day of November, 2021.

                                                    s/ William C. Griesbach
                                                    William C. Griesbach
                                                    United States District Judge




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